Case 8:16-cv-01581-EAK-TBM Document 17 Filed 11/10/16 Page 1 of 2 PageID 59



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

BRENDA THOMAS,

             Plaintiff,
                                               Case No. 8:16-cv-01581-EAK-TBM
v.

NAVIENT SOLUTIONS, INC.,

             Defendant.
                                  /

                          NOTICE OF PENDING SETTLEMENT

      Defendant, Navient Solutions, Inc. (NSI) by and through undersigned counsel,

hereby submits this Notice of Pending Settlement and states the parties have reached a

settlement with regard to this case and are presently drafting, finalizing, and executing

the formal settlement documents. Upon full execution of the same, the parties will file

the appropriate dismissal documents with the Court.

Dated: November 10, 2016

                                         Respectfully submitted,

                                         /s/ Rachel A. Morris
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                                      Page 1 of 2
Case 8:16-cv-01581-EAK-TBM Document 17 Filed 11/10/16 Page 2 of 2 PageID 60



                                          Attorneys for Defendant,
                                          Navient Solutions, Inc.,



                             CERTIFICATE OF SERVICE

       I certify that on this 10th day of November 2016, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system or U.S. First Class Mail including

plaintiff’s counsel as described below. Parties may access this filing through the Court’s

system.

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                                          /s/ Rachel A. Morris
                                          Attorney




                                        Page 2 of 2
